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             EXHIBIT A
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                                      DECLARATION OF DEBORAH FLEISCHAKER

                       I, Deborah Fleischaker, declare the following under 28 U.S.C. § 1746, and state that

              under penalty of perjury the following is true and correct to the best of my knowledge and belief:

                  1. I began working on immigration detention issues in 2011, when I was a career employee

                       at the U.S. Department of Homeland Security’s (DHS) Office for Civil Rights and Civil

                       Liberties (CRCL). I was employed by CRCL from March 2011 until September 2021.

                       One year of this (May 2019 - May 2020) was spent on a temporary detail to Senator

                       Patrick J. Leahy’s Judiciary Committee staff. An additional four months was spent on a

                       temporary detail at the DHS Office of Policy and three months at U.S. Immigration and

                       Customs Enforcement (ICE). I worked on immigration issues in all of these temporary

                       assignments.

                  2. Between September 2021 and November 2023, I was employed as a political appointee

                       by DHS’s ICE. I was an Assistant Director at ICE and headed the Office of Regulatory

                       Affairs and Policy from September 2021 to November 2022. From November 2022 until

                       November 2023, I served as the Acting ICE Chief of Staff.

                  3. As the Assistant Director for the Office of Regulatory Affairs and Policy, I spearheaded

                       policy and regulatory initiatives for the agency, with a significant focus on immigration

                       enforcement, detention, and removal. In that position, I worked on a number of

                       enforcement and detention policies, including Secretary Alejandro Mayorkas’

                       enforcement priorities, the DHS sensitive locations and courthouse enforcement policies,

                       and policies relating to the detention of pregnant people, crime victims, and parents.

                  4. I provide this declaration based on my personal knowledge and experience as well as my

                       review of Robert L. Cerna’s Declaration.




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                  5. Mr. Cerna’s declaration indicates that ICE is not prepared to detain members of Tren de

                       Aragua (“TdA”).

                  6. Based on my extensive experience with ICE detention policies and practices, that is

                       wrong.

                  7. ICE detention facilities in the United States are prepared to detain any noncitizen,

                       regardless of their security risk level. This includes people with violent criminal histories,

                       as well as members of gangs and Foreign Terrorist Organizations.

                  8. Mr. Cerna testifies that gang members in ICE facilities pose a grave risk to nonviolent

                       detainees. That is not true.

                  9. ICE has a clear custody classification system. Detainees are assessed a custody level and

                       detained at that level. The custody classification system allows ICE facilities to separate

                       detainees with no criminal histories from those with a history of violence. ICE facilities

                       also have “Special Management Units” designed to securely house individuals who

                       cannot be housed safely with the general detainee population. This could include the

                       highest risk and most violent detainees.

                  10. All but a handful of ICE detention facilities are able to manage all levels of detainees in a

                       safe and secure manner, and ICE is able to ensure that higher risk detainees are housed in

                       appropriately secure facilities.

                  11. Mr. Cerna also testifies that gang members pose a grave risk to ICE personnel. This is

                       also wrong.

                  12. As a threshold matter, ICE personnel typically do not serve as guards at detention

                       facilities. Contracted guard services are usually responsible for the safety and security of

                       all detainees and staff, including ICE personnel.




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                  13. ICE has numerous policies in place to ensure a safe and secure environment for both

                       detainees and staff. In all facilities, detainees are subject to line-of-sight monitoring,

                       regular searches, and limitations on the amount and type of property they may have in

                       their possession. ICE also maintains staff/detainee ratios that must be met at all detention

                       facilities to ensure the safety and security of the facilities.

                  14. ICE devotes significant effort and preparation to safety and security, and the agency

                       routinely manages complex populations with high levels of criminality and gang

                       affiliation, all while keeping its personnel safe.

                  15. Mr. Cerna testifies that holding TdA members risks potential gang recruitment activities

                       in ICE detention. Again, this is untrue and any risks can be appropriately mitigated.

                  16. ICE facilities have specific tools to address gang recruitment concerns. Detainees may be

                       held in segregation or housed in pods that contain only detainees with the same gang

                       affiliation. Individual cells are regularly searched, telephone calls are monitored, and

                       there is not significant freedom of movement for high-risk detainees.

                  17. Finally, Mr. Cerna testifies that holding members of TdA without “an immediate

                       mechanism to remove them” is “irresponsible.” That is simply not true.

                  18. ICE routinely holds gang members through their immigration proceedings. ICE also had

                       facilities designated to hold specific gang-affiliated individuals, often separated by gang.

                       I am not aware of any evidence that TdA’s presence in ICE units is any more difficult to

                       manage than the presence of other criminal gangs.

                  19. Mr. Cerna’s declaration describes the types of crimes alleged against individuals removed

                       under the AEA. Assuming the allegations in paragraphs 10 and 11 of Mr. Cerna’s




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                       declaration are true, it would have been well within ICE’s capacity to detain those

                       individuals safely for the duration of their removal proceedings.

                  20. ICE has always safely and securely detained individuals who are gang members and/or

                       who have been arrested, charged, or convicted, or who have INTERPOL red notices for

                       violent crimes. There is nothing about the situation described by Mr. Cerna that is

                       different than what ICE normally handles. Safe and secure detention of all individuals,

                       regardless of their security risk, is essential to ICE’s mission and a core agency function.



              Executed on this 19th day of March, 2025 in Washington D.C.



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                                                                                            Deborah T. Fleischaker




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